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                                      EXHIBIT B

                            Declaration of Edgar W. Mosley II




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)




      DECLARATION OF EDGAR W. MOSLEY II IN SUPPORT OF DEBTORS’
     APPLICATION TO EMPLOY AND RETAIN ALVAREZ & MARSAL NORTH
    AMERICA, LLC AS FINANCIAL ADVISORS TO DEBTORS AND DEBTORS IN
             POSSESSION PURSUANT TO SECTIONS 327(A) AND 328
     OF THE BANKRUPTCY CODE NUNC PRO TUNC TO THE PETITION DATE

                  Edgar W. Mosley II, being duly sworn, hereby states as follows:

                  1.      I am a Managing Director with Alvarez & Marsal North America, LLC

(together with employees of its affiliates (all of which are wholly-owned by its parent company

and employees), its wholly owned subsidiaries, and independent contractors, “A&M”), a

restructuring advisory services firm with numerous offices throughout the country. I submit this

declaration on behalf of A&M (the “Declaration”) in support of the Debtors’ Application to

Employ and Retain Alvarez & Marsal North America, LLC as Financial Advisors to Debtors and

Debtors in Possession Pursuant to Sections 327(a) and 328 of the Bankruptcy Code Nunc Pro

Tunc to the Petition Date (the “Application”) on the terms and conditions set forth in the

Application and the engagement letter between Debtors and A&M attached to the Application as




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX.


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Exhibit C (the “Engagement Letter”). Except as otherwise noted, 2 I have personal knowledge of

the matters set forth herein.

                  2.      I have more than 20 years of restructuring and distressed investment

experience across various industries, including oil & gas, manufacturing, transportation,

automotive, retail, industrial construction, telecommunications, healthcare, and consumer

products. I have a bachelor’s degree from Harvard University, and have been recognized as a

Certified Insolvency and Restructuring Advisor by the Association of Insolvency and

Restructuring Advisors, where I served on the board from 2019 until 2020.

                  3.      Since joining A&M, I have been involved in numerous Chapter 11

restructurings including Seadrill Limited (2020 and 2017), Valaris plc, Diamond Offshore

Drilling, Inc., Imerys Talc America, White Star Petroleum, Southcross Energy, Magnum Hunter

Resources, Exide Technologies (where I served as the Chief Restructuring Officer), and Visteon

Corporation.

                            DISINTERESTEDNESS AND ELIGIBILITY

                  4.      A&M together with its professional service provider affiliates (the “Firm”)

utilize certain procedures (“Firm Procedures”) to determine the Firm’s relationships, if any, to

parties that may have a connection to a client debtor. In implementing the Firm Procedures, the

following actions were taken to identify parties that may have connections to the Debtors, and

the Firm’s relationship with such parties:

                  5.      A&M requested and obtained from the Debtors extensive lists of

interested parties and significant creditors (the “Potential Parties in Interest”). 3 The list of



2
    Certain of the disclosures herein relate to matters within the personal knowledge of other professionals at A&M
    and are based on information provided by them.


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Potential Parties in Interest which A&M reviewed is annexed hereto as Schedule A. The

Potential Parties in Interest reviewed include, among others, the Debtors, non-debtor affiliates,

directors, significant customers, vendors, parties holding ownership interests in the Debtors,

counterparties to certain agreements, certain regulatory authorities, recipients of donations and

litigation claimants. 4

                  6.      A&M then compared the names of each of the Potential Parties in Interest

to the names in its master electronic database of the Firm’s current and recent clients (the “Client

Database”). The Client Database generally includes the name of each client of the Firm, the

name of each party who is or was known to be adverse to the client of the Firm in connection

with the matter in which the Firm is representing such client, the name of each party that has, or

had, a substantial role with regard to the subject matter of the Firm’s retention, and the names of

the Firm professionals who are, or were, primarily responsible for matters for such clients.

                  7.      An email was issued to all Firm professionals requesting disclosure of

information regarding: (i) any known personal connections between the respondent and/or the

Firm on the one hand, and certain significant Potential Parties in Interest or the Debtors, on the

other hand, 5 (ii) any known connections or representation by the respondent and/or the Firm of


3
    The list of Potential Parties in Interest is expected to be updated during these cases. A&M continues to review
    the relationships its personnel may have with potentially interested parties and to determine whether any
    relationships other than those set forth herein exist. As may be necessary, A&M will supplement this
    Declaration if it becomes aware of a relationship that may adversely affect A&M’s retention in these cases or
    discovers additional parties in interest through the filing of statements of financial affairs or statements under
    Rule 2019. A&M will update this disclosure if it is advised of any trading of claims against or interests in the
    Debtors that may relate to A&M’s retention or otherwise requires such disclosure.

4
    The list of Potential Parties in Interest and the financial information that A&M used to process it is subject to
    future revision as more information becomes available in these cases. As stated in the Ray First Day
    Declaration, the Debtors’ professionals have faced “a complete failure of corporate controls and such a
    complete absence of trustworthy financial information” that the situation is “unprecedented”. Ray First Day
    Declaration at 5.

5
    In reviewing its records and the relationships of its professionals, A&M did not seek information as to whether
    any A&M professional or member of his/her immediate family: (a) indirectly owns, through a public mutual

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any of those Potential Parties in Interest in matters relating to the Debtors; and (iii) any other

conflict or reason why A&M may be unable to represent the Debtors.

                  8.       Known connections between former or recent clients of the Firm and the

Potential Parties in Interest were compiled for purposes of preparing this Declaration. These

connections are listed in Schedule B annexed hereto.

                  9.       As a result of the Firm Procedures, I have thus far ascertained that, except

as may be set forth herein, upon information and belief, if retained, A&M:

                  a) is not a creditor of the Debtors (including by reason of unpaid fees for

                       prepetition services), 6 an equity security holder of the Debtors, or an “insider”

                       of the Debtors, as that term is defined in section 101(31) of the Bankruptcy

                       Code;

                  b) is not, and has not been, within 2 years before the date of the filing of the

                       petition, a director, officer, or employee of the Debtors; and

                  c) does not have an interest materially adverse to the interests of the Debtors’

                       estates, or of any class of creditors or equity security holders, by reason of any

                       direct or indirect relationship to, connection with, or interest in, the Debtors,

                       or for any other reason.




    fund or through partnerships in which certain A&M professionals have invested but as to which such
    professionals have no control over or knowledge of investment decisions, securities of the Debtors or any other
    party in interest; or (b) has engaged in any ordinary course consumer transaction with any party in interest. If
    any such relationship does exist, I do not believe it would impact A&M’s disinterestedness or otherwise give
    rise to a finding that A&M holds or represents an interest adverse to the Debtors’ estates. It is also noted that in
    the course of our review it came to A&M’s attention that A&M personnel hold de minimis investments in
    various parties in interest, including but not limited to AT&T, Bank of America, Bank of Cyprus, Comcast,
    Equinix, Facebook/Meta, Google, JP Morgan, Microsoft, Morgan Stanley, UBS AG, Verizon and Wells Fargo.

6
    See paragraph 25 below.


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                  10.   As can be expected with respect to any international professional services

firm such as A&M, the Firm provides services to many clients with interests in the Debtors’

Chapter 11 Cases. To the best of my knowledge, except as indicated below, the Firm’s services

for such clients do not relate to the Debtors’ Chapter 11 Cases.

                  11.   In addition to the relationships disclosed on Schedule B, I note the

following:

                  12.   JPMorgan Chase Bank, N.A. together with certain of its affiliates

(collectively, “JPMC”), Wells Fargo Bank, N.A. together with certain of its affiliates

(collectively, “Wells Fargo”), and HSBC Bank USA, N.A. together with certain of its affiliates

(collectively “HSBC”) are Potential Parties in Interest. Under a credit facility (the “Credit

Facility”) to A&M’s parent company Alvarez & Marsal Holdings, LLC: Wells Fargo is

administrative agent, swingline lender and issuing lender, and JPMC is a lender and the

syndication agent; Wells Fargo and JPMC are joint lead arrangers and joint book runners; and

HSBC is a participating lender and documentation agent. In addition to Wells Fargo’s receipt of

interest in its capacity as a lender under the Credit Facility, Wells Fargo, JPMC, and HSBC

receive certain customary and negotiated fees and reimbursement of expenses in connection with

their roles under the Credit Facility.

                  13.   In June 2022, A&M’s affiliate Alvarez & Marsal Disputes and

Investigations, LLC (“A&M DI”) was engaged by Debtor entity Alameda Research to provide

forensic services in connection with an SEC investigation. A&M DI’s engagement was limited

to the conversion of data from Slack to Relativity Short Message Format. The services were

completed on or about June 30, 2022, and the total fees were less than $5,000.




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                  14.   Rishi Jain was appointed as an independent director of the Ventures Silo.

He was part of A&M’s corporate restructuring and turnaround practice between 2006 and 2017.

                  15.   We note that A&M has made certain personnel available to provide

financial advisory services to Celsius Network LLC, and its affiliated debtors and debtors-in-

possession (“Celsius”) in connection with Celsius’ Chapter 11 bankruptcy cases. Celsius and the

Debtors are creditors in each other’s Chapter 11 cases. A&M personnel will recuse themselves

in both engagements from any involvement in disputes between Celsius and the Debtors.

                  16.   A&M has made certain personnel available to Genesis Global Holdco,

LLC and its subsidiaries and affiliates (“Genesis”) to provide financial advisory services. The

Debtors’ have made a substantial investment in Genesis. In addition, Genesis is a member of the

Unsecured Creditors Committee in these cases. A&M has elected to institute a formal

information barrier between those A&M personnel that work on the Debtors’ engagement and

those A&M personnel that work on the Genesis engagement and A&M teams on both sides will

recuse themselves from any involvement in disputes between Genesis and the Debtors.

                  17.   On July 5, 2022, Voyager Digital Ltd. and two subsidiaries (“VDL”)

commenced chapter 11 proceedings. Alvarez & Marsal Canada Inc. is the Information Officer in

the Canadian recognition proceedings under the CCAA. As part of VDL’s Chapter 11 process,

the Debtors were to acquire VDL’s assets (the Court had approved the Asset Purchase

Agreement, and confirmation for the plan was being sought). Due to the Debtors’ entering into

Chapter 11 proceedings, the proposed transaction could not go forward and the Asset Purchase

Agreement has now been terminated. In addition, the Debtors are a creditor of VDL. A&M’s

role as the Information Officer does not include advising VDL on issues related to the Debtors.

As an Information Officer, A&M Canada is an officer of the Ontario Superior Court of Justice



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(the “Canadian Court”) and does not represent VDL directly. The Information Officer will report

to the Canadian Court from time to time on the status of the VDL Chapter 11 proceeding, the

proposed restructuring of VDL, the U.S. orders sought to be recognized and given effect by the

Canadian Court, and any other information that may be material to the Canadian Court or

Canadian stakeholders. The Information Officer’s role is not to collect assets of VDL from the

Debtors or any other party. The Information Officer has no relationship to the VDL business

operations or plan development, and therefore A&M’s role as Information Officer, does not

result in A&M Canada representing an interest adverse to the Debtors.

                  18.   A&M’s affiliate, Alvarez & Marsal Valuation Services, LLC (“A&M

VS”), provides portfolio valuation consulting services to various clients in the financial industry

and A&M VS has previously provided such services solely for financial reporting purposes to

SkyBridge Capital and/or its affiliates (“SkyBridge”) regarding certain interests held by

SkyBridge in the Debtors. No persons providing services for the Debtors have been involved in

such valuation services for SkyBridge and A&M VS has an understanding with SkyBridge that

A&M VS personnel will recuse themselves during the term of this engagement from any future

valuation services for SkyBridge related to the Debtors.

                  19.   In the email issued to all Firm professionals referred to in paragraph 7

above, A&M specifically requested disclosure of whether such persons (or any members of their

household) have accounts with the Debtors or are otherwise a creditor in these Chapter 11 Cases.

Seven employees responded that they (or their family member) had accounts with the Debtors

containing de minimis amounts. One A&M Managing Director has an investment of

approximately $100,000 in an account with the Debtors and is also invested in a hedge fund that

is a creditor of the Debtors. None of the 7 responding employees are a part of the A&M team



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providing services to the Debtors. A&M established an information barrier between those

responding employees and the A&M personnel who are staffed on the Debtors’ engagement. 7

                  20.     Further, as part of its diverse practice, the Firm appears in numerous cases

and proceedings, and participates in transactions that involve many different professionals,

including attorneys, accountants, and financial consultants, who represent claimants and parties-

in-interest in the Debtors’ Chapter 11 Cases. Further, the Firm has performed in the past, and

may perform in the future, advisory consulting services for various attorneys and law firms, and

has been represented by several attorneys and law firms, some of whom may be involved in

these proceedings. Based on our current knowledge of the professionals involved, and to the

best of my knowledge, none of these relationships create interests materially adverse to the

Debtors in matters upon which A&M is to be employed, and none are in connection with these

cases.

                  21.     To the best of my knowledge, no employee of the Firm is a relative of, or

has been connected with the United States Trustee in this district or its employees.

                  22.     Accordingly, to the best of my knowledge, A&M is a “disinterested

person” as that term is defined in section 101(14) of the Bankruptcy Code, in that A&M: (i) is

not a creditor, equity security holder, or insider of the Debtors; (ii) was not, within two years

before the date of filing of the Debtors’ chapter 11 petitions, a director, officer, or employee of

the Debtors; and (iii) does not have an interest materially adverse to the interest of the Debtors’

estates or of any class of creditors or equity security holders.

                  23.     If any new material relevant facts or relationships are discovered or arise,

A&M will promptly file a supplemental declaration.

7
    In addition, two employees (one who is staffed on this matter) reported receiving a free account with FTX as
    part of a promotion at a concert event. Those accounts were never activated by establishing login credentials.


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                                                 Compensation

                  24.   Subject to Court approval and in accordance with the applicable

provisions of the Bankruptcy Code, the Bankruptcy Rules, applicable United States Trustee

guidelines, and the Local Rules of this Court, A&M will seek from the Debtors payment for

compensation on an hourly basis and reimbursement of actual and necessary expenses incurred

by A&M. A&M’s customary hourly rates as charged in bankruptcy and non-bankruptcy matters

of this type by the professionals assigned to this engagement are outlined in the Application.

These hourly rates are adjusted annually.

                  25.   To the best of my knowledge, (i) no commitments have been made or

received by A&M with respect to compensation or payment in connection with these cases other

than in accordance with applicable provisions of the Bankruptcy Code and the Bankruptcy Rules,

and (ii) A&M has no agreement with any other entity to share with such entity any compensation

received by A&M in connection with these Chapter 11 Cases.

                  26.   By reason of the foregoing, I believe A&M is eligible for employment and

retention by the Debtors pursuant to sections 327(a) (as modified by sections 1107(b)), 328, 330

and 331 of the Bankruptcy Code and the applicable Bankruptcy Rules and Local Rules.



                                                            Dated this 21st day of December 2022




                                                                          By: Edgar W. Mosley II
                                                                              Edgar W. Mosley II
                                                                               Managing Director




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                       Schedule A List of Potential Parties in Interest




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                                                  FTX Trading – Redacted Parties in Interest1

    5% or More Equity Holders                                                     Evolve Bank and Trust
    Edward Moncada                                                                Far Eastern Int'l Bank
    Nishad Singh                                                                  Fibabanka
    Name On File                                                                  Fidelity Bank (Bahamas)
    Samuel Bankman‐Fried                                                          Garanti BBVA
    Zixiao Wang                                                                   Goldfields Money
    Ad Hoc Committee (Non US Customers of FTX.com)                                HDFC Bank
    Eversheds Sutherland (Us) LLP                                                 HSBC Bank
    Morris, Nichols, Arsht & Tunnell LLP                                          Interactive Brokers
    Bankruptcy Judges                                                             JPMorgan Chase Bank, N.A.
    Ashely M. Chan                                                                Jtrust Bank
    Brendan L. Shannon                                                            Klarpay
    Craig T. Goldblatt                                                            LendingClub
    John T. Dorsey                                                                Maerki Baumann & Co. AG
    Karen B. Owens                                                                Moneytech
    Kate Stickles                                                                 Moonstone Bank
    Laurie Selber Silverstein                                                     Morgan Stanley
    Mary F. Walrath                                                               MUFG Bank, LTD.
    Una O'Boyle (Clerk of Court)                                                  National Australia Bank
    Bankruptcy Professionals                                                      Nium
    Ernst & Young                                                                 Nuvei
    Quinn Emanuel Urquhart & Sullivan, LLP                                        Octabase
    AlixPartners, LLP                                                             Omipay / Cuscal
    Alvarez & Marsal North America, LLC                                           PayPay Bank
    Kroll Restructuring Administration                                            Paysafe
    Landis Rath & Cobb LLP                                                        Prime Trust LLC
    Perella Weinberg Partners                                                     Rakuten Bank
    Sullivan & Cromwell LLP                                                       RJ O'Brien
    Banks/Lender/UCC Lien Parties/Administrative Agents                           SBI Sumishin Net Bank Ltd.
    AKBANK                                                                        Signature Bank
    Apple Business                                                                Signet
    Bank of America                                                               Silicon Valley Bank
    Bank of Cyprus                                                                Silvergate Bank
    BCB Bank                                                                      Siraat Banksai
    BMO Harris Bank, N.A.                                                         Standford Credit Union
    Circle Internet Financial, Inc.                                               Strait X
    Commercial Bank of Dubai                                                      Stripe
    Commerical Bank of Vietnam                                                    Sumitomo Mitsui Banking Corporation (SMBC)
    Customers Bank                                                                Swapforex
    DBS Bank Limited                                                              Tokyo Star Bank
    Deltec                                                                        Transactive
    ED&F Man Holdings Inc.                                                        Transfero
    Emirate NBD Bank                                                              Turicum
    Equity Bank                                                                   Vakifbank
    Etana                                                                         Volksbank Bayern Mitte eG
    Eurobank                                                                      Washington Business Bank


1
  Pursuant to the Interim Order (I) Authorizing the Debtors to Maintain A Consolidated List of Creditors in Lieu of Submitting a Separate Matrix for Each
Debtor, (II) Authorizing the Debtors to Redact or Withhold Certain Confidential Information of Customers and Personal Information of Individuals on an
Interim Basis and (III) Granting Certain Related Relief [D.I. 157], the names of customers and individuals whom the Debtors believe may be citizens of
the United Kingdom or a European Union member country are redacted.

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Wells Fargo                                            Name On File
Western Alliance                                       Jeremy Cranford
Zand Bank                                              Name On File
Contract Counter‐Parties                               Joele Frank
AC Revocable Trust                                     Kariya Kayamori
Adresana Limited                                       Name On File
AIM Sports, LLC                                        Kevin O'Leary
Name On File                                           Name On File
Name On File                                           Larnabell Enterprises Limited
Name On File                                           Laura Larissa Hanna
Alpaca Crypto LLC                                      Ledger SAS
AlteumX International S.A.                             Lightspeed Management Company, LLC
Name On File                                           Lincoln Holdings LLC DBA Monumental Sports & Entertainment
Name On File                                           Lorem Ipsum UG
Name On File                                           Name On File
Name On File                                           Name On File
Barstool Sports Inc.                                   Major League Baseball Clubs
Billboard Media, LLC                                   Major League Baseball Properties, Inc
Binance Capital Management Co. Ltd.                    Mark Khalil
BitGo                                                  Medium Rare Live, LLC
BITOCTO                                                Meow Technologies Inc.
BlockFi Inc.                                           Mercedes‐Benz Grand Prix Limited
Brandon Williams                                       Name On File
Brave Software International SEZC                      MLB Advanced Media, L.P
Name On File                                           MMBOC, LLC
Cal Athletics                                          MPG Live Ltd
Chainalysis                                            Multicoin Capital
Coachella Music Festival, LLC                          Nardello & Co. LLC
David Ortiz                                            Naomi Osaka
David Ortiz Children’s Fund                            O’Leary Productions Inc.
Name On File                                           Office of the Commissioner of Baseball
Diego Perez de Ayala                                   Paradigm
Digital Assets DA AG                                   Patrick Gruhn
Digital Finance Group Company                          Paul Forest
Dolphin Entertainment, Inc.                            Paxos Trust Company, LLC
Name On File                                           Name On File
Elvia Delgadillo                                       Play Magnus Group
Exodus Movement, Inc.                                  PointUp Inc.
Fortune Cookie                                         Proper Trust AG
FOX SPORTS SUN, LLC                                    PT Datindo Infonet Prima
Name On File                                           Race Capital
FTI Consulting, Inc.                                   Radegen Sports Management LLC
Furia ESports LLC                                      Rebecca Lowe
Galois Capital                                         Reddit, Inc.
Gisele Caroline Bündchen                               Ribbit Capital
Golden State Warriors                                  Rick Fox
Gpay Network Pte. Ltd.                                 Riot
Growflint Technologies Pvt. Ltd.                       Name On File
HashKey Blockchain Investment Fund                     SC30 Inc.
HODL Media, Inc.                                       Name On File
ICC Business Corporation FZ LLC                        Shohei Ohtani
Idealex Services OU                                    Name On File
IEX Group, Inc.                                        Stephen Curry
iVest+                                                 StockTwits, Inc.
Name On File                                           Swift Media Entertainment, Inc
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Sygnia Consulting                                      Name On File
The MLB Network, LLC                                   Name On File
The Sequoia Fund, L.P.                                 Name On File
Thoma Bravo                                            Name On File
TL INTERNATIONAL BV                                    Name On File
TokenBot International Ltd.                            Name On File
Tom Brady                                              Name On File
TradingView Inc                                        Name On File
Trevor Lawrence                                        Name On File
TrustToken                                             Name On File
Twig USA Inc                                           Name On File
Udonis Haslem                                          Name On File
UJH Enterprises                                        Name On File
Veridian Development Group Ltd.                        Name On File
Yahoo Inc.                                             Name On File
Yuga Labs, Inc.                                        Name On File
Customers                                              Name On File
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Name On File                                           Debtors
Name On File                                           Alameda Aus Pty Ltd
Name On File                                           Alameda Global Services Ltd.
Name On File                                           Alameda Research (Bahamas) Ltd
Name On File                                           Alameda Research Holdings Inc.
Name On File                                           Alameda Research KK
Name On File                                           Alameda Research LLC
Name On File                                           Alameda Research Ltd
Name On File                                           Alameda Research Pte Ltd
Name On File                                           Alameda Research Yankari Ltd
Name On File                                           Alameda TR Ltd
Name On File                                           Alameda TR Systems S. de R. L.
Name On File                                           Allston Way Ltd
Name On File                                           Analisya Pte Ltd
Name On File                                           Atlantis Technology Ltd.
Name On File                                           Bancroft Way Ltd
Name On File                                           Blockfolio, Inc.
Name On File                                           Blue Ridge Ltd
Name On File                                           Cardinal Ventures Ltd
Name On File                                           Cedar Bay Ltd
Name On File                                           Cedar Grove Technology Services, Ltd
Name On File                                           Clifton Bay Investments LLC
Name On File                                           Clifton Bay Investments Ltd
Name On File                                           Cottonwood Grove Ltd
Name On File                                           Cottonwood Technologies Ltd.
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Crypto Bahamas LLC                                                   Liquid Securities Singapore Pte Ltd.
DAAG Trading, DMCC                                                   LiquidEX LLC
Deck Technologies Holdings LLC                                       LT Baskets Ltd.
Deck Technologies Inc.                                               Maclaurin Investments Ltd.
Deep Creek Ltd                                                       Mangrove Cay Ltd
Digital Custody Inc.                                                 North Dimension Inc
Euclid Way Ltd                                                       North Dimension Ltd
FTX (Gibraltar) Ltd                                                  North Wireless Dimension Inc
FTX Canada Inc                                                       Paper Bird Inc
FTX Certificates GmbH                                                Pioneer Street Inc.
FTX Crypto Services Ltd.                                             Quoine India Pte Ltd
FTX Digital Assets LLC                                               Quoine Pte Ltd
FTX Digital Holdings (Singapore) Pte Ltd                             Quoine Vietnam Co. Ltd
FTX EMEA Ltd.                                                        SNG INVESTMENTS YATIRIM VE DANIŞMANLIK ANONİM ŞİRKETİ
FTX Equity Record Holdings Ltd                                       Strategy Ark Collective Ltd.
FTX EU Ltd.                                                          Technology Services Bahamas Limited
FTX Europe AG                                                        Verdant Canyon Capital LLC
FTX Exchange FZE                                                     West Innovative Barista Ltd.
FTX Hong Kong Ltd                                                    West Realm Shires Financial Services Inc.
FTX Japan Holdings K.K.                                              West Realm Shires Inc.
FTX Japan K.K.                                                       West Realm Shires Services Inc.
FTX Japan Services KK                                                Western Concord Enterprises Ltd.
FTX Lend Inc.                                                        Zubr Exchange Ltd
FTX Marketplace, Inc.                                                Director/Officer
FTX Products (Singapore) Pte Ltd                                     Name On File
FTX Property Holdings Ltd                                            Name On File
FTX Services Solutions Ltd.                                          Andy Fisher
FTX Structured Products AG                                           Arthur Thomas
FTX Switzerland GmbH                                                 Name On File
FTX Trading GmbH                                                     Name On File
FTX Trading Ltd                                                      Can Sun
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET                        Caroline Ellison
FTX US Services, Inc.                                                Caroline Papadopoulas
FTX US Trading, Inc                                                  Name On File
FTX Ventures Ltd                                                     Name On File
FTX Zuma Ltd                                                         Constance Wang
GG Trading Terminal Ltd                                              Corporate & Trust Services Limited
Global Compass Dynamics Ltd.                                         Dan Friedberg
Good Luck Games, LLC                                                 Name On File
Goodman Investments Ltd.                                             Diana Aidee Munoz Maclao De Camargo
Hannam Group Inc                                                     Edward Moncada
Hawaii Digital Assets Inc.                                           Gary Wang
Hilltop Technology Services LLC                                      Name On File
Hive Empire Trading Pty Ltd                                          Name On File
Innovatia Ltd                                                        Name On File
Island Bay Ventures Inc                                              Jen Chan
Killarney Lake Investments Ltd                                       John J. Ray
Ledger Holdings Inc.                                                 John Samuel Trabucco
Ledger Prime LLC                                                     Jonathan Cheesman
LedgerPrime Bitcoin Yield Enhancement Fund, LLC                      Joseph J. Farnan
LedgerPrime Bitcoin Yield Enhancement Master Fund                    Name On File
LedgerPrime Digital Asset Opportunities Fund, LLC                    Kariya Kayamori
LedgerPrime Digital Asset Opportunities Master Fund LP               Name On File
LedgerPrime Ventures, LP                                             Larry Thompson
Liquid Financial USA Inc.                                            Name On File
{1368.002‐W0069413.}                                       5
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Luk Wai Chan                                             Hurry Up Slowly
Name On File                                             Laureus Sport for Good
Name On File                                             Majority Forward
Mark Wetjen                                              Managed Funds Association
Name On File                                             National Council of Social Service
Name On File                                             New Jersey Scholars
Name On File                                             Neworld One Bay Street ‐ Margaritaville Beach Resort Nassau
Matt Rosenberg                                           RESource D.C
Matthew Doheny                                           Rethink Priorities
Matthew Ness                                             Seattle Approves
Name On File                                             Stanford School of Medicine
Michael McCarty                                          Stanford University
Michael Watson                                           Stanford University Development
Mitch Sonkin                                             The Center for Election
Name On File                                             Name On File
Name On File                                             UC Berkeley Foundation
Name On File                                             UDONIS HASLEM CHILDRENS FOUNDATION
Nishad Singh                                             Insurance
Name On File                                             Ascot Insurance Company
Name On File                                             Continental Casualty Company
Name On File                                             Endurance Worldwide Insurance Ltd., Zurich Insurance Plc,
Name On File                                             HDI Global Specialty SE
Rishi Jain                                               Lloyd’s America, Inc.
Name On File                                             Massachusetts Bay Insurance Company
Ryan Salame                                              Paragon International Insurance Brokers Limited
Ryne Miller                                              QBE Insurance Corporation
Samuel Bankman‐Fried                                     Relm Insurance Ltd.
Name On File                                             StarStone National Insurance Company
Serhat Aydin                                             The Hanover Insurance Group
Name On File                                             The Travelers Insurance Company
Shiliang Tang                                            Travelers Property Caualty Company of America
Name On File                                             United Fire Group
Sina Nader                                               USI Insurance Services, LLC‐CL
Name On File                                             Investments/Acquisitions
Takashi Hidaka                                           1Inch
Terence Choo                                             3Commas Technologies
Name On File                                             5D
Venu Palaparthi                                          6529 NFT Fund
Wang Zhe                                                 6th Man Ventures Fund
Wing Man Charis Law (Charis Law)                         80 Acres
Wong Jing Yu                                             Acala
Zach Dexter                                              AFK Ventures LLC
Zhe Wang                                                 Name On File
Donations                                                Alder Labs
amfAR                                                    Alethea
Arbor Day Foundation                                     Aligned AI
Berkley Existential Risk Initiative                      Altimeter Growth Partners Fund VI, L.P.
Care for Special Needs Children Foundation               Alvea, LLC
Center for Effective Altruism                            Anchorage
Clinton Health Access                                    Ancient8
David Ortiz Children's Fund                              AngelList
Eat.Learn.Play                                           Anthropic
Eldera, Inc.                                             Anysphere Inc
GWWC                                                     Aptos
Honnold Foundation                                       Arcana
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Archax                                                              CoinMARA
Arnac                                                               Collide Capital Fund I
Arrow                                                               Com2Us
Artemis                                                             Composable
Asymmetric Technologies LP                                          Compound Financial
ATMTA, Inc. / Star Atlas                                            Confirm Solutions Inc
Atomic Vaults                                                       Conjecture
ATTN (EVOSverse)                                                    Connect3 / Lab3 Technology Limited
Auradine, Inc.                                                      Consensys
Aurigami / Vaus Limited                                             Critical Ideas, Inc.
Aurory                                                              Cryowar
Autograph                                                           Curated
Automata                                                            DaoSqaure
Avara Labs / LENS                                                   Darkfi
AVECRIS Research Corporation Pte. Ltd. (Project Door)               Dave Inc
Aver Protocol                                                       decimated
Axelar Network                                                      Defi
Bastion / Bengine, Inc.                                             Defi Alliance
BetDEX                                                              Delphia Holdings Corp
BiLira (Series A ‐ Class E)                                         Delta One
Bitmain Fund L.P.                                                   Delysium / KUROSEMI INC.
Bitnob Technologies                                                 Digital Assets DA AG
Bitnomial                                                           Distributed Ledger Technology
BitOasis                                                            DLT Climate Tech
Bitocto (exchange Indo) / PT Triniti                                DoDo
Blockbeats News                                                     DoinGud
Blockchain Space / Solutions Lab Consultancy Pte Ltd                DoNotPay
Blocto                                                              Doodles
Bluebook Cities                                                     Doppel Inc
Bond Fund III                                                       Dorahack
Bonzai Finance                                                      Drift
Bridge Technologies (BRG Token)                                     DriveWealth
Brinc Drones                                                        Dropp
Browder Capital                                                     Dtrade
BTC Africa, S.A., (dba AZA Finance)                                 Dune Analytics
Burnt                                                               Dust Labs, Inc
Canonical Crypto Fund                                               edenbrawl / Worldspark Studios, Inc
Cardinal (Nexus Pro)                                                EFAS / Kepler Space Industries
Causal Inc                                                          Efficient Frontier / Odyssey Technologies Limited
CCAI / Aldin                                                        Eizper Chain
Cega Pte Ltd                                                        Elementus
Celesita Network                                                    Elumia
Ceres Protocol Inc / Mythos tokens                                  Equator Therapeutics
Change Up                                                           EquiLibre Tecnologies Inc.
chillchat                                                           Ethereal Ventures Fund I LP
China V Investors L.P.                                              Euclid Labs / Magic Eden Secondary Shares
China Venture Capital Fund                                          Euler
Chingari                                                            Evme Inc
Chipper Cash / Critical Ideas Inc                                   Exodus
Circle Internet Financial, Inc.                                     exotic / Pier3 Ventures Limited
Clover                                                              Exponent Founders Capital I, LP
Coderrect Inc.                                                      Exponential DeFi Inc
Cogni                                                               FairSide
Coin98                                                              Fanatics
Coinfeeds / Docsi18n                                                Faraway
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Fern Labs Inc                                                Katana Labs / Blade Labs Inc
Few and Far                                                  Keygen Labs, Inc
Figma Inc                                                    Kollider
Float Capital / Rubin Global Ltd                             Kos Therapeutics Inc
Flourishing Humanity Corporation Ltd                         Kraken Ventures Fund I LP
Fluence Labs                                                 Kresus
Friktion                                                     KTR Group Corporation
Frosted Inc                                                  Kwil Inc
Fuel / Layer‐2 Development Corp.                             Lake Nona Fund / LN Sports & Health Tech Fund I, LP
FYI.FYI, Inc                                                 LayerZero
Galaxy Protocol (Galxe)                                      LayerZero Labs Ltd
GamerGains                                                   Lemon Cash
GamesPad                                                     Lexidus
GENESIS DIGITAL ASSETS LIMITED                               Lido
Geniome (FBH Corporation)                                    Lifelike Capital
Genopet / WITTY ELITE LIMITED                                Lightspeed Faction
GetMati                                                      Limit Break
GetPIP Web3.0 / Prime Round Ltd                              Liquality
GGX Protocol Limited / GGX Token                             Liquid 2 Venture Fund III L.P.
Global Illumination                                          Liquid Group Inc
GOG (Guild of Guardians)                                     Liquid Value Fund I LP
GuildFi / CRYPTOMIND LAB PTE. LTD                            Liquity
Harbor Systems Inc                                           LiveArtX
Hashflow / Qflow                                             Loan Transactions and Technology LLC / Edge Tradeworks
Hawku                                                        Lonely Road
HedgeHog                                                     Luxon / LXN
Helix Nanotechnologies                                       Magic Eden
Hidden Road Inc                                              Name On File
HODL                                                         Manifold Markets
HOLE Tokens                                                  Manta
http://Contxts.io / NFT Bank                                 Mask Network / MASKBOOK
http://Solsniper.xyz (Sniper Labs)                           Matonee Inc
http://tsm.gg/ (Swift Media Entertainment Inc)               Mavia
http://wum.bo/                                               MCDEX
https://syndica.io/                                          MEOW
HyperNative Inc                                              Mercurial
IEX                                                          Merge
ImmutableX Token Prorata                                     Messari
Impossible Finance                                           MetaLink
Innovatia Ltd                                                Metaplex
IO Finnet                                                    MetaTheory
IOSG Fund II LP                                              Metaversus / Combat Lab, Inc
IP3 Cripco (Line Friends)                                    Mina
Ivy Natal                                                    Mirror World
Jafco SV4 Investment Limited                                 MobileCoin
Jambo / Project Chill Limited                                Modulo Capital Inc
Jet Protocol                                                 Mojo
Jet Tech                                                     Momentum Safe Inc
Jito Labs Inc                                                MONACO / BetDEX / STRAMASH PROTOCOL LTD.
Juiced / Basis Yield Corp                                    Monkey Kingdom / Kingdom Metaverse Limited
JUMBO.EXCHANGE                                               MonkeyBall
Juppiomenz                                                   Mount Olympus Capital LP
JustWontDie Ltd                                              Move Labs
K5 Global                                                    MPL
Kariya Kayamori                                              Multicoin Venture Fund II
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Multicoin Venture Fund III                                  Red Sea Research
MultiSafe/ Coinshift                                        REF
Mysten Labs                                                 Rejuveron
Mythical Games                                              Resonant Health Inc
Nas Education Pte Ltd                                       Revault
NEAR                                                        Rockbird LLC
Nestcoin                                                    Rocket
New Gen Minting LLC                                         Roco Finance
Nifty Island                                                Rok Capital Offshore Fund Ltd
Nod Labs, Inc.                                              ROUTER PROTOCOL / Kailaasa Infotech Pte Ltd
NodeGuardians                                               Saddle Finance / Incite Technologies Inc
Nural Capital                                               SahiCoin
O'daily News                                                Salad Ventures Ltd
Offchain Labs                                               Samudai
Only1                                                       Samuel Bankman‐Fried
Open Loot Ecosystem Fund I Ltd.                             Satori Research
Optim                                                       Scopely
Orderly                                                     SEBA Bank
OTC Service Ltd / OTC Service AG                            SECRET Network / Enigma MPC, Inc.
OTOY International                                          SecureSave
OVEX                                                        Senate
Owner.com                                                   Sequoia Capital Fund, L.P.
Pacer                                                       SH Fund, LP
Pangea Cayman Fund I Ltd                                    Sherlock Bioscience
Paradigm One (Cayman) Feeder LP                             Sidus
Parallel Finance                                            SifChain
Parastate                                                   Sintra
Paraswap                                                    Sipher
Paxos                                                       Size
Pembrock                                                    Sky Mavis (Axie Infinity)
Perion / BUZZ DEVELOPMENT INC                               Skybridge
Phastasia                                                   Slope
PINE                                                        Snickerdoodle Labs
Pionic (Toss)                                               Soba Studios / Good Game Inc
Pixelynx                                                    SOJ Trading Ltd (JoePEGS NFT Project)
PlanetQuest                                                 Solana Restricted Token Purchase
Platform Lifesciences Inc                                   SolCial / Social Research
Play Up                                                     Solend / Concurrent C Inc
Point                                                       SolFarm
Point Up                                                    Solice
Polygon Network                                             Solidus
Pontem Network                                              Solrise
Pontis ‐ ZK Oracle (42 Labs INc)                            Solscan
Port Finance / Contrarian Defi LLC                          SolStarter
Pragma                                                      Sommelier
Protego                                                     SperaX
Pstake                                                      Spruce Systems Inc
Psyoption                                                   Stacked
QP‐Fund I, a series of Generalist Capital, LP               Star Atlas
Questbook / CreatorOS                                       Stargate (LayerZero)
Race Capital II                                             Starkware
Rainmaker                                                   Step Finance
Ratio Finance                                               StepN (Find Satoshi Lab)
Rebittance (SCI)                                            Stocktwits
Receipts Depositary Corporation                             Stoke Space
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Storybook                                              Zenlink
SubSocial                                              zero one
Subspace Network                                       Zeta
Sugarwork                                              ZKlend / BLUE HORIZON GLOBAL CORP
Sui Token Warrant (FTX Ventures)                       ZKX / LTIC, Inc.
Sundaeswap                                             ZRO (LayerZero)
SupraOracle / ENTROPY PROTOCOL LTD.                    Zubr Exchange Ltd
Swim                                                   Joint Provisional Liquidators
SwitchBoard                                            Brian C. Simms
Swoop                                                  Holland & Knight LLP
Symmetry                                               Kevin G. Cambridge
Synthetify                                             Peter Greaves
T Tauri Ltd ‐ Token Purchase Agreement                 Richards, Layton & Finger, P.A.
Tactic / Spoak Inc                                     White & Case
Taki Network Pte Ltd                                   Known Affiliates ‐ JV
Taleverse                                              Alameda Systems Inc.
TaxBit                                                 Blockfolio Holdings, Inc.
Telis Bioscience                                       CM‐Equity AG
The Giving Block                                       Concedus Digital Assets
Thirdverse                                             Embed Clearing LLC
TipLink                                                Embed Financial Technologies Inc
Tools For Humanity                                     FTX Australia Pty Ltd
Tortuga                                                FTX Bahamas Ventures Ltd
Torus                                                  FTX Capital Markets LLC
Toy Ventures                                           FTX Derivatives Gmbh
TradeWind                                              FTX Digital Markets Ltd
TripleDot                                              FTX Express Pty Ltd
TrueFi                                                 FTX Foundation, Inc.
Trustless Media                                        FTX Malta Gaming Services Limited
TrySpace / SPACE Metaverse AG                          FTX Malta Holdings Ltd.
TTAC                                                   FTX Vault Trust Company
Twilight / Cyberprep Corp                              LedgerX LLC
Umee                                                   Salameda Ltd
UVM Signum Blockchain Fund VCC                         Landlords
UXD                                                    101 Second Street, Inc.
VALR Proprietary Limited                               1450 Brickell, LLC
VerifyVASP Pte. Ltd.                                   Albany Resort Operator Ltd.
Vibe Labs Inc.                                         Blue Hole Real Estate Holdings Ltd.
Virtualness Inc                                        Boca Pay
VolMex                                                 Bond Collective
VolumeFi Software, Inc.                                Brickwell Owner LLC
Vosbor                                                 Heckler Investments (Bahamas) Ltd.
VOYAGER DIGITAL LTD.                                   Javari Ltd.
VY DHARANA EM TECHNOLOGY FUND, L.P.                    Madison Real Estate Ltd.
VY SPACE                                               Newwave Bahamas Inc.
VY Space II LP                                         S3 Ocean View Limited
Vybe                                                   The Executive Center
WAEV                                                   The Metropolitan Square Associates LLC
Wave Mobile Money Holdings                             WeWork Companies LLC
Wordcel                                                W‐SF Goldfinger Owner VIII, L.L.C.
Xdefi                                                  Litigation
X‐Margin                                               Name On File
Xterio                                                 Different Rules, LLC
Yuga Labs (BAYC)                                       Name On File
Zebec                                                  Group One Holdings Pte Ltd
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Name On File                                             Significant Competitors
Marisa Mcknight                                          Binance
ONE Studios Pte Ltd                                      BlockFi, Inc.
Ordinary Course Professionals                            Coinbase
ABNR                                                     Crypto.com
Anderson Mori & Tomotsune                                Gemini
Anthony Astaphan                                         Kraken
Antis Triantafyllides                                    KuKoin
Appleby                                                  Surety & Letters of Credit
ARIFA                                                    Lockton Insurance Brokers, LLC
Armanino LLP                                             Philadelphia Indemnity Insurance Company
Arthur Cox                                               RLI Insurance Co.
Baker McKenzie                                           Sompo International
Baptista Luz                                             Taxing Authority/Governmental/Regulatory Agencies
Bär & Karrer                                             Alaska Department of Commerce, Community, and
Binder Grösswang                                         Economic Development
BlackOak                                                 Amber Eutsey
Clayton Utz                                              Anne Cappelli
Clement Maynard & Co                                     Arizona Department of Insurance and Financial Institutions
CMS Legal ‐ Italy                                        Arkansas Securities Department
Covington & Burling LLP                                  Aurora Fagan
Durukan Partners                                         Bahamas ACP Secretariat
Fenwick & West                                           Bahamas Agricultural & Industrial Corporation (BAIC)
Gibson Dunn                                              Bahamas Bureau of Standards and Quality (BBSQ)
Gorriceta Africa Cauton & Saavedra                       Bahamas Development Bank
Hadef & Partners                                         Bahamas Electricity Corporation (BEC)
Hogan Lovells                                            Bahamas Environment Science and Technology Commission (BEST)
Kim & Chang                                              Bahamas Investment Authority
King & Spalding LLP                                      Bahamas Trade Commission
King Wood Mallesons                                      Bahamasair Holding Ltd
Kramer Levin                                             Bank of The Bahamas
Latham & Watkins                                         Bo Fears
Lenz & Staehelin                                         Brandi Smith
Lexcomm Vietnam                                          Brock Jensen
Loyens&Loeff                                             Bryan Hsueh
McCarthy Tetrault                                        Business Licence ‐ Valuation Unit (Bahamas)
MLL Meyerlustenberger Lachenal Froriep Ltd               Campbell McLaurin
Nishit Desai                                             Catherine Reyer
Norton Rose                                              Central Bank of The Bahamas
Olaniwun Ajayi                                           Christopher German
Peter Maynard                                            Clifford Charland
Piper Alderman                                           Commodity Futures Trading Commission
Prager Metis CPA's, LLC                                  Compliance Commission (Bahamas)
Ronny Domröse                                            Corey Krebs
Schurti Partners                                         Craig Christensen
Shardul Amarchand Mangaldas                              Cyprus Securities and Exchange Commission
Silicon Valley Accountants                               Danielle Sassoon
Slaughter & May                                          David Berland
TSN LIMITED                                              David Buchalter
Walkers                                                  David O’Brien
WilmerHale                                               David Venerables
Other Significant Creditors                              Delaware State Treasury
BITVO Inc.                                               Department of Insurance and Financial Services
Celsius Network LLC                                      Department of Justice ‐ Computer Crime and Intellectual Property
FTX Ventures Partnership                                 Section
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Department of Justice ‐ National Crypto Currency Enforcement Team   New Jersey Department of Banking and Insurance
Department of Justice ‐ Southern District of New York               New York Department of Financial Services
Department of Justice ‐ US Attorney Southern District of Florida    Nicolas Roos
Department of Labour (Bahamas)                                      Nina Ruvinsky
Department of Local Government (Bahamas)                            North Carolina Department of Commerce
District of Columbia Department of Insurance, Securities and        North Carolina Department of Justice
Banking                                                             North Dakota Department of Financial Institutions
Drew Stillman                                                       Office of Internal Audit (Bahamas)
Dubai Virtual Assets Regulatory Authority                           Office of the Attorney General & Ministry of Legal Affairs (Bahamas)
Dustin Physioc                                                      Office of the Auditor General (Bahamas)
Elizabeth Pendleton                                                 Office of the Data Protection Commissioner (Bahamas)
Erin Wilk                                                           Office of the Prime Minister (Bahamas)
Ethan McLaughlin                                                    Ohio Department of Commerce
Financial Intelligence Unit (Bahamas)                               Ontario Securities Commission
FINMA SRO‐Treuhand Suisee                                           Oregon Division of Financial Regulation
Florida Office of Financial Regulation                              Patricia Straughn
Georgia Department of Banking and Finance                           Paul Balzano
Gibraltar Financial Services Commission                             Peter Frank
Hawaii Department of Commerce and Consumer Affairs                  Peter Marton
Hong Kong Securities & Futures Commission                           Registrar Generals Department (Bahamas)
House Committee on Oversight and Reform                             Rhode Island Department of Business Regulation Financial Services
Idaho Department of Finance                                         Richard Childers
Illinois Department of Financial and Professional Regulation        Samuel Fuller
Ingrid White                                                        Samuel Raymond
Internal Revenue Service                                            Sara Cabral
Iowa Division of Banking                                            Secretary of State
Iris Ikeda                                                          Securities and Exchange Commission
Jack McClellan                                                      Securities Commission of The Bahamas
James Westrin                                                       South Dakota Division of Banking
Japan Financial Services Agency                                     State of Connecticut Department of Banking
Jason Gworek                                                        Stephanie Ryals
Jay Kim                                                             Steven Buchholz
Jeanju Choi                                                         Supreme Court (Bahamas)
Jeffrey Loimo                                                       Tammy Seto
Jennifer Biretz                                                     Texas Department of Banking
Jesse Moore                                                         Thane Rehn
Jesse Saucillo                                                      The Department of Inland Revenue (Bahamas)
Jessica Peck                                                        The Foreign Account Tax Compliance Act (FATCA) (Bahamas)
Jesus (/Jesse) Saucillo                                             The National Insurance Board
Jonathan Misk                                                       Tom Stevens
Jonathan Vruwink                                                    Treasury Department (Bahamas)
Karyn Tierney                                                       Utilities Regulation & Competition Authority (URCA) (Bahamas)
Kelley Reed                                                         VAT Bahamas
Kevin Webb                                                          Vermont Department of Financial Regulation
Kristen Anderson                                                    Virginia Bureau of Financial Institutions
Kristin Rice                                                        Washington State Department of Financial Institutions
Lucinda Fazio                                                       Zak Hingst
Mark Largent                                                        U.S. Trustee Office
Maryland Department of Labor                                        Andrew R. Vara
Matthew Dyer                                                        Benjamin Hackman
Michigan Department of Insurance and Financial Services             Christine Green
Ministry of Finance (Bahamas)                                       Denis Cooke
Ministry of Works and Utilities (Bahamas)                           Diane Giordano
Monetary Authority of Singapore                                     Dion Wynn
Nebraska Department of Banking and Finance                          Edith A. Serrano
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Hannah M. McCollum                                        Amplitude
Holly Dice                                                Amwins
James R. O'Malley                                         Anderson Kill LLP
Jane Leamy                                                Anderson Mori & Tomotsune (Japan)
Joseph Cudia                                              Andy Fisher
Joseph McMahon                                            Apple Inc.
Juliet Sarkessian                                         Apple Search Ads
Lauren Attix                                              APPSFLYER INC|C‐Corp
Linda Casey                                               Armanino
Linda Richenderfer                                        Association for Digital Asset Management, Inc.
Michael Panacio                                           Atlassian Pty Ltd
Nyanquoi Jones                                            Audio Kinetic
Ramona Harris                                             Auradine, Inc.
Richard Schepacarter                                      AVARA LABS CAYMAN HOLDINGS SEZC
Rosa Sierra‐Fox                                           Name On File
Shakima L. Dortch                                         AWS
Timothy J. Fox, Jr.                                       AYG Sales
UCC Members                                               Azora LLC
Acaena Amoros Romero                                      Bally Sports Sun
Coincident Capital International, Ltd.                    Baquet Pty Ltd
Epsilon Trading                                           Barstool Sports, Inc
GGC International Ltd.                                    Basketball Properties Ltd
Larry Qian                                                Bhouse USA LLC
Octopus Information Ltd.                                  BitGo
Pulsar Global Ltd.                                        Bleacher Report ‐ Warner Media
Wincent Investment Fund PCC Ltd.                          Blockchain Australia
Wintermute Asia PTE. Ltd.                                 BlockScore, Inc.
Zachary Bruch                                             Bloomberg
UCC Professionals                                         Boca FIA Conference
Hunton Andrews Kurth LLP                                  Bond Collective
Utilities                                                 Brasil Motorsport
AT&T                                                      Braze
Comcast                                                   Brex Credit Card
Comcast Business                                          Brinc Drones
Magic Jack                                                BSO Network Solutions Ltd
Ooma Inc.                                                 BTIG
Verizon Wireless                                          Bullish Studios
Wiline Networks, Inc.                                     Burgopak
Vendors                                                   CAA Sports ‐ Shohei Ohtani
101 Second Street, Inc.                                   CAF America
1Password                                                 Canopy Labs
2000 CENTER STREET LLC                                    Canopy RE, Inc
ABG Shaq LLC                                              Center for Applied Rationality
Abundantia Creative Llp                                   Chainalysis Inc.
ADAM                                                      Chartwell
Adobe Systems Inc.                                        CHICAGO MERCANTILE EXCHANGE INC.
Aerobic Design LLC                                        Cloudflare Inc
Ai Safety Support Ltd                                     Coachella
AIRBNB                                                    Coindesk
Akin Gump Strauss Hauer & Feld LLP                        CoinMara SAFE
Aliyun.com                                                COJO Strategies
Amazon                                                    Colormatics
Amazon Web Services (AWS)                                 Commercial Loan Clearing
American Express                                          Conaway Graves Group
Amiba Consulting                                          Conde Nast
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Congressional Leadership Fund                             GameStop
Corporate & Trust Services                                GB Solutions ‐ Geoff Bough
Creators Agency LLC                                       Gibson, Dunn & Crutcher LLP
Crypto Council for Innovation                             GitHub
CSL MOBILE LIMITED HONG KONG                              Glushon Sports Management
Dara Studios                                              GoDaddy
DATADOG, INC.                                             Golden State Warriors
Deacons Lawyers                                           Golden State Warriors Community Foundation
Denstu McGarry Bowen                                      Goldfinger
Dentsu X                                                  Google
Diablo Holdings ‐ 2000 Center                             Google Cloud Platform
Digital Finance Group Co.                                 Grafit Studios ‐ Roman Tulinov Pe
DJ Bam LLC ‐ Sunjay Matthews                              Grafted Growth
Dlocal LLP                                                Grand Prix Tickets
DLT Climate Tech, Inc.                                    Group One Holdings
Done Deal Promotions                                      Gusto
Door Dash                                                 HashPort Inc.
DoorDash US                                               Name On File
Dotdash                                                   Herman Miller Design
Drawn Sword Limited                                       Hogan Lovells International LLP
Duane Morris LLP                                          Honeycomb
E3 Technology, Inc.                                       Hotels.com
Elite Protection LLC                                      I2C In.
Elwood                                                    ICC
Emerson Estate                                            IFS Markets
Emerson Land Company                                      IKOABD LLC
Emondo design, vl. Ivana Milicic.                         Inca Digital, Inc
Epik Holdings Inc                                         INCO, LLC
Equinix                                                   India Strategic Partnership Inc.
Equinix ‐ JPY                                             Insight Direct USA Inc
Equinix INC                                               insight software CO
Equinox Group LLC                                         Investing Made Simple
Equity and Transformation                                 Invisible North
Eventus Systems, Inc.                                     ipower
EVERYWHERE WIRE                                           Isbl International Specialty Brokers Limited
Excel Sports Management                                   Jetstream Partners Limited
Facebook/Meta                                             JLL Law Firm
FACTORY PR LLC                                            Name On File
Fast Forward                                              Jorge Luis Lopez Law Firm
Federal Trade Commission FTC                              Jumio Corporation
FEDEX                                                     Justworks
Fenwick & West                                            Kandji
Fenwick & West ‐ FTX Trading Ltd                          Katten Muchin Rosenman LLP
Fenwick & West ‐ FTX US                                   Kevin Haeberle
Flatiron Labs, Inc.                                       Kim & Chang
Florida International University Foundation               King and Wood Mallesons (HK)
Flutterwave                                               Latham & Watkins LLP
Food Panda                                                Learfield
FOX BROADCASTING COMPANY                                  Ledger & Cobie Enterprises dba UpOnly
Fox Sports                                                LedgerX LLC
FULL COURT PRESS COMMUNICATIONS, INC                      Leo Trippi SA
Fullstory                                                 Name On File
Functional Software Inc, dba Sentry                       Lexis Nexis
Furia ESports LLC                                         Liftoff Mobile, Inc.
Futures Industry Association                              Light the Way ‐ The Campaign for Berkeley
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Limit Break                                                  Osler, Hoskin & Harcourt LLP
Lincoln Place Inc.                                           OtterSec LLC
Lockton Insurance Brokers, LLC                               PCCW Netvigator Now
Looker (Google LLC)                                          Perkins Coie LLP
Lorem Ipsum ‐ AP                                             Pickle Software LLC
Lowenstein Sandler LLP                                       Piper Alderman Law
Lunch Money Group Inc ‐ Anthony Pompliano                    Plaid Financial Ltd.
M Group                                                      Play Magnus AS
Maerki Baumann Und Co.                                       Playground Ventures
Mammoth Media, Inc.                                          Playup Limited
Max Maher Show LLC                                           Pomp Podcast ‐ Lunch Money Group
Maxlaw Global                                                Pricewater House Coopers LLP
Mayfield XV                                                  Prime Trust LLC
McCarthy Tetrault                                            Print Run Promotions LTD
McGarry Bowen, LLC                                           Printfection
Medium Rare Live                                             ProCo Global, Inc. d/b/a Chartwell Compliance
Mercedes‐Benz Grand Prix Limited                             PSYOP Productions LLC
Message Global                                               PWC ‐ S.A. Evangelou and Co LLC
Meta Platforms, Inc.                                         QReg Advisory Limited
MG Trust                                                     Quicknode
Miami Dade County                                            Quinn Emanuel Urquhart & Sullivan, LLP
Miami Heat Limited Partnership                               R8G UK Limited
Name On File                                                 Rational 360
MicroLedgers                                                 Raybloch
Microsoft                                                    Reddit
Microsoft Advertising                                        Redmond Construction Group
Microsoft Online Inc                                         Refactor Capital
MLB Advanced Media                                           Refinitiv
Name On File                                                 Refinitiv US, LLC
Monumental Sports and Entertainment Foundation               Revolut Ltd
Moon Overlord                                                Rich Feuer Anderson
Mooncolony Ltd                                               Rippling
Morgan Lewis                                                 Rivers & Moorehead PLLC
Morrison and Foerster LLP                                    Robert Lee & Associates, LLP
MPG Live                                                     Roku
NA League of Legends Championship Series LLC                 Name On File
Naomi Osaka                                                  Ruin the Game Events
nCipher Security                                             Ryan Salame
Name On File                                                 SafetyPay
Neodyme                                                      Saigon Dragon Studios
Nerd St. Gamers                                              Salameda Capital LTD
New Revolution Media                                         Name On File
Nifty Metaverse Inc                                          SALT Venture Group LLC
Nishith Desai Associates                                     Sardine Ai
NJ Scholars                                                  Sc30 Inc.
NP Digital                                                   Scratchy Productions, Inc.
NYSE                                                         Sentry
Office Revolution                                            Sequor Trends Limited|Foreign Vendor
OIC of South Florida                                         Serendipity Consulting
O'Leary Productions Inc.                                     Shadow Lion
One Workplace L. Ferrari                                     Sidley Austin LLP
Open Fortune ‐ Fortune Media                                 Sierra Wireless
OPUS Partners Co. Ltd                                        Signature Bank
Orrick, Herrington & Sutcliffe LLP                           Siimpl ‐ Firesight Technologies
Osaka Exchange                                               Silver Miller
{1368.002‐W0069413.}                               15
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Skadden, Arps, Slate, Meagher & Flom LLP                TOP Worldwide, LLC
Skyline Construction                                    TransPerfect (Chancery Staffing)
Slack Technologies, Inc                                 Treasury Forfeiture Fund
Snap Inc                                                Tribe Payments Ltd
Sol Stores                                              Trident
Solana Spaces                                           TriNet
Solidus Labs                                            Trip Actions, Inc.
Spiralyze LLC                                           Triton One Limited
SSB Trust                                               TRM Labs, Inc.
Stanford Law School                                     Turner Digital AD Sales (INC)
Stripe, Inc.                                            Twilio
Sullivan & Cromwell LLP                                 Twitter
Swift Media Entertainment ‐ TSM FTX                     Two More Glasses
Swift Media Entertainment Inc.                          UBS Financial Services Inc
TagNitecrest Ltd                                        UJH Enterprise, Inc
Takashi Hidaka                                          Underground Creative
Takedown Media                                          United Healthcare
Talent Resources Sports                                 USI
TaxBit                                                  Valuz LLP
Teknos Associates LLC                                   VARA
Tevora                                                  Name On File
The Block Crypto                                        VKR Insights
The Drop Media                                          Wasserman
The Drop NFT Media, Inc                                 Wasserman ‐ Operating
The Executive Centre                                    Wasserman Client Trust
The Executive Centre Singapore Pte Ltd                  We Are One World
THE GOODLY INSTITUTE                                    Weekly Open
The Metropolitan Museum of Art                          West Realm Shires Services Inc
The Working Policy Project                              West Realm Shires, Inc. WRS
Thirdverse, Co, Ltd                                     WH Sports
TigerWit                                                Wifi Bread
TikTok                                                  William Trevor Lawrence dba MMBOC, LLC
Time Magazine                                           Willkie Farr & Gallagher LLP
Time Magazine UK LTD                                    WME Entertainment
Name On File                                            Wondros
Name On File                                            W‐SF Goldfinger Owner VIII, LLC
TL International                                        XReg Consulting‐ GBP
TONGLE X LLC                                            Name On File
Top Drawer Merch




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                       Schedule B Potential connections or related parties




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                                   FTX Trading – Redacted Schedule B 1

Current and Former Clients of A&M                                Endurance Worldwide Insurance Ltd.,
and/or its Affiliates 2                                             Zurich Insurance Plc, HDI Global
Adobe Systems Inc.                                                  Specialty SE
American Express                                                 Equinox Group LLC
Name on File                                                     Ernst & Young
Apple Inc.                                                       Eurobank
Aptos                                                            Eventus Systems, Inc.
AirBnB                                                           Evolve
Amazon                                                           Facebook/Meta
Ascot Insurance Company                                          Fedex
AT&T                                                             Fidelity Bank (Bahamas)
Azora LLC                                                        Figma Inc.
Baker McKenzie                                                   Fox Broadcasting Company
Bank of America                                                  FTI Consulting, Inc.
Bank of Cyprus                                                   Genesis Digital Assets Limited
Bartstool Sports Inc.                                            Google
Binance Capital Management Co. Ltd.                              Name on File
Bitmain Fund L.P.                                                Hanover Insurance Group, The
Bloomberg                                                        Holland & Knight LLP
BMO Harris Bank, N.A.                                            HSBC Bank
Celsius Network LLC                                              Insight
Chicago Mercantile Exchange Inc.                                 Interactive Brokers
Circle                                                           JPMorgan Chase Bank, N.A.
Name on File                                                     JLL Law Firm
Comcast                                                          Jumio
Commercial Bank of Dubai                                         Kroll Restructuring Administration
Conde Nast                                                       Learfield
Covington & Burling LLP                                          LendingClub
Curated                                                          Lido
DBS                                                              Lockton Insurance Brokers, LLC
Defi                                                             M Group
Dlocal LLP                                                       Major League Baseball Clubs
DoDo                                                             Microsoft
Duane Morris LLP                                                 Morgan Stanley
ED&F Man Holdings Inc.                                           MUFG Bank, Ltd.
                                                                 Ooma Inc.
                                                                 Perella Weinberg Partners

1
 Pursuant to the Interim Order (I) Authorizing the Debtors to Maintain A Consolidated List of Creditors in Lieu of
Submitting a Separate Matrix for Each Debtor, (II) Authorizing the Debtors to Redact or Withhold Certain
Confidential Information of Customers and Personal Information of Individuals on an Interim Basis and (III)
Granting Certain Related Relief [D.I. 157], the names of customers and individuals whom the Debtors believe may
be citizens of the United Kingdom or a European Union member country are redacted.
2
  A&M and/ or an affiliate is currently providing or has previously provided certain consulting or interim
management services to these parties or their affiliates (or, with respect to those parties that are investment funds or
trusts, to their portfolio or asset managers or their affiliates) in wholly unrelated matters.


                                                           1
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Philadelphia Indemnity Insurance Company                       Apple Inc.
PWC – S.A. Evangelou and Co LLC                                Artemis
QBE Insurance Corporation                                      Ascot Insurance Company
Rainmaker                                                      AT&T
Reddit                                                         Bank of America
Ribbit Capital                                                 Bank of Cyprus
RLI Insurance Co.                                              Bloomberg
SafetyPay                                                      BMO Harris Bank, N.A.
Skybridge                                                      Chicago Mercantile Exchange
Signature Bank                                                 Comcast
Silicon Valley Bank                                            Conde Nast
Skadden, Arps, Slate, Meagher & Flom LLP                       Consensys
Slack Technologies, Inc.                                       DBS
Sompo International                                            Deltec
Stanford University                                            ED&F Man Holdings Inc.
Stripe                                                         Ellison, Caroline
Sumitomo Mitsui Banking Corporation                            Emirate NBD Bank
Thoma Bravo                                                    Ernst & Young
                                                               Evolve
Travelers Insurance Company, The                               Excel Sports Management
TriNet                                                         Fidelity Bank (Bahamas)
UBS Financial Services Inc.                                    Name on File
UC Berkeley Foundation                                         Goodman Investments Ltd.
United Healthcare                                              Google
USI                                                            Group One Holdings Pte Ltd
Verizon Wireless                                               HDFC Bank
Volksbank Bayern Mitte eG                                      HSBC Bank
Voyager Digital Ltd.                                           INCO, LLC
Walkers                                                        Jafco SV4 Investment Limited
WeWork Companies LLC                                           Name on File
Wells Fargo                                                    JLL Law Firm
WME Entertainment                                              Name on File
Yahoo!                                                         JPMorgan Chase Bank, N.A.
                                                               Liftoff
Significant Equity Holders of Current                          Lightspeed Management Company, LLC
and Former A&M Clients 3                                       Liquid 2 Venture Fund III, L.P.
Adobe Systems Inc.                                             Lloyd’s America, Inc.
AirBnB                                                         Microsoft
AlixPartners, LLP                                              Morgan Stanley
Amazon                                                         MUFG Bank, Ltd.
American Express                                               Multicoin Capital
AngelList                                                      National Australia Bank

3
  These parties or their affiliates (or, with respect to       holders of clients or former clients of A&M or its
those parties that are investment funds or trusts, their       affiliates in wholly unrelated matters.
portfolio or asset managers or other funds or trusts
managed by such managers) are significant equity

                                                           2
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O’Leary Productions Inc.                                  Covington & Burling LLP
Paradigm                                                  Deacons Lawyers
PCCW Netvigator Now                                       Duane Morris LLP
Perella Weinberg Partners                                 Ernst & Young
Playground Ventures                                       Executive Centre Singapore Pte Ltd, The
QBE Insurance Corporation                                 Eversheds Sutherland (US) LLP
Rakuten Bank                                              Fedex
Name on File                                              Fenwick & West
Refactor Capital                                          FTI Consulting, Inc.
Ribbit Capital                                            Gibson Dunn
Rocket                                                    Name on File
SBI                                                       Hogan Lovells
Sequoia                                                   Holland & Knight LLP
Silicon Valley Bank                                       JLL Law Firm
Sompo International                                       Joele Frank
Stanford University                                       Katten
Sumitomo Mitsui Banking Corporation                       Kim & Chang
Name on File                                              King & Spalding LLP
Thoma Bravo                                               King Wood Mallesons
Travelers Insurance Company, The                          Kramer Levin
Twitter                                                   Kroll Restructuring Administration
UBS Financial Services Inc.                               Landis Rath & Cobb LLP
UC Berkeley Foundation                                    Latham & Watkins LLP
United Healthcare                                         Lenz & Staehelin
USI                                                       Lockton Insurance Brokers, LLC
Verizon Wireless                                          Loyens&Loeff
Walkers                                                   Lowenstein Sandler LLP
Wells Fargo                                               McCarthy Tetrault
Williams, Brandon                                         Morgan Lewis
                                                          Morgan Stanley
Professionals & Advisors 4                                Morris, Nichols, Arsht & Tunnell LLP
Akin Gump Strauss Hauer & Feld LLP                        Morrison and Foerster LLP
AlixPartners, LLP                                         Nardello & Co. LLC
Anderson Kill LLP                                         Nishit Desai
Appleby                                                   Norton Rose
Arifa                                                     NYSE
Arthur Cox                                                Orrick, Herrington & Sutcliffe LLP
Bank of America                                           Osler, Hoskin & Harcourt LLP
Baker McKenzie                                            Perella Weinberg Partners
Bär & Karrer                                              Perkins Coie LLP
Binder Grosswäng                                          PWC – S.A. Evangelou and Co LLC
BMO Harris Bank, N.A.                                     Quinn Emanuel Urquhart & Sullivan, LLP
CMS Legal - Italy                                         Ray, John J.

4
  These professionals have represented clients in         certain cases, these professionals may have engaged
matters where A&M was also an advisor (or provided        A&M on behalf of such client.
interim management services) to the same client. In

                                                      3
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Richards, Layton & Finger, P.A.                                Hong Kong Securities & Futures
Shardul Amarchand Mangaldas                                       Commission
Sidley Austin LLP                                              Internal Revenue Service
Skadden, Arps, Slate, Meagher & Flom LLP                       Monetary Authority of Singapore
Slaughter & May                                                New York Department of Financial Services
Sullivan & Cromwell LLP                                        North Carolina Department of Justice
Walkers                                                        Securities and Exchange Commission
Wells Fargo
White & Case                                                   A&M Vendors 8
Willkie Farr & Gallagher LLP                                   Akin Gump Strauss Hauer & Feld LLP
WilmerHale                                                     Amazon
Yahoo!                                                         American Express
                                                               Appleby
Significant Joint Venture Partners 5                           AT&T
Adobe Systems Inc.                                             Bank of America
AT&T                                                           Bloomberg
Bank of America                                                BMO Harris Bank, N.A.
Ernst & Young                                                  Chartwell
JPMorgan Chase Bank, N.A.                                      Comcast
Microsoft                                                      ED&F Man Holdings Inc.
Morgan Stanley                                                 Equinox Group LLC
Sumitomo Mitsui Banking Corporation                            Elite Protection LLC
Wells Fargo                                                    Endurance Worldwide Insurance Ltd.,
                                                                  Zurich Insurance Plc, HDI Global
Board Members 6                                                   Specialty SE
Fisher, Andy                                                   Ernst & Young
Doheny, Matthew                                                Executive Center, The
Pompliano, Anthony – Lunch Money Group                         Fedex
Watson, Michael                                                Fidelity Bank (Bahamas)
                                                               Name on File
Government and Regulatory 7                                    Hogan Lovells
Department of Justice – Computer Crime                         HSBC Bank
   and Intellectual Property Section                           Insight
District of Columbia Department of                             JLL Law Firm
   Insurance, Securities and Banking                           JPMorgan Chase Bank, N.A.
Gibraltar Financial Services Commission                        Katten
                                                               King & Spalding LLP

5
 These parties or their affiliates are significant joint       management services to these government entities or
venture partners of other clients or former clients of         regulatory agencies in wholly unrelated matters.
A&M or its affiliates in wholly unrelated matters.
                                                               8
                                                                These parties or their affiliates provide or have
6
 These parties or their affiliates are board members           provided products, goods and/or services (including
of other clients or former clients of A&M or their             but not limited to legal representation) to A&M
affiliates in wholly unrelated matters.                        and/or its affiliates
7
 A&M and/or an affiliate is currently providing or
has provided certain consulting or interim

                                                           4
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King Wood Mallesons
Kramer Levin
Kroll Restructuring Administration
Latham & Watkins LLP
Lexis Nexis
Lockton Insurance Brokers, LLC
Morgan Lewis
Morris, Nichols, Arsht & Tunnell LLP
Morrison and Foerster LLP
Norton Rose
Orrick, Herrington & Sutcliffe LLP
PCCW Netvigator Now
Perella Weinberg Partners
Perkins Coie LLP
PWC – S.A. Evangelou and Co LLC
Quinn Emanuel Urquhart & Sullivan, LLP
Sidley Austin LLP
Skadden, Arps, Slate, Meagher & Flom LLP
UBS Financial Services Inc.
USI
Verizon Wireless
Wells Fargo
White & Case
Willkie Farr & Gallagher LLP
WilmerHale




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